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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF DELAWARE

SUZANNE DAKESSIAN,                         : CASE NO. 1:17-CV-01151 GMS
                                           :
                  Plaintiff,               :
v.                                         :
                                           :
WILLIAM SCHELL, IV; DOMINICK               :
DAFFNER; WORLD                             :
CHAMPIONSHIP                               : TRIAL BY JURY OF TWELVE
PUNKIN' CHUNKIN' INC.; PUNKIN              : DEMANDED
CHUNKIN ASSOCIATION; FRANK                 :
PAYTON; FRANK SHADE; TERRY                 :
BEWSTER; DAVID QUIGLEY;                    :
MCCULLEY, EASTHAM &                        :
ASSOCIATES,                                :
INC.; WHEATLEY FARMS, INC.;                :
E. DALE WHEATLEY; JEFFREY T.               :
WHEATLEY; DISCOVERY                        :
COMMUNICATIONS, INC.;                      :
STATE OF DELAWARE and the                  :
STATE OF DELAWARE                          :
(DEPARTMENT OF NATURAL                     :
RESOURCES AND                              :
ENVIRONMENTAL CONTROL),                    :
                                           :
                  Defendants.              :

            STIPULATION OF DISMISSAL WITH PREJUDICE

      IT IS HEREBY STIPULATED by and between the parties, through their

undersigned counsel, and subject to approval by the Court, that all claims and

crossclaims against Defendants, E. Dale Wheatley and Jeffrey Wheatley, only, are

hereby dismissed with prejudice.



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Inc., Punkin’ Chunkin’ Association, and
Frank Peyton
                                          2
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                                           Department of Natural Resources and
                                           Environmental Control

                            ORDER OF DISMISSAL

      SO ORDERED this ___________ day of __________________, 2018.


                                            _______________________________
                                                                          J.



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